                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 UNITED STATES OF AMERICA,
                                                   Case No. 3:21-mj-04149
 v.
                                                   Magistrate Judge Alistair E. Newbern
 RICCARDO PAOLO SPAGNI,

         Defendant.


                                             ORDER

        On March 1, 2022, the Court ordered the release of Riccardo Paolo Spagni’s Italian

passport to the custody of his counsel for the limited purpose of Spagni obtaining a Tennessee

driver’s license. (Doc. No. 38.) Spagni’s counsel report that, unsurprisingly, this process was not

able to be completed in one day and therefore ask the Court to release Spagni’s passport to their

custody for a second time so that Spagni may take his driver’s test. The United States has indicated

that it does not oppose this request.

        Accordingly, the Pretrial Services Officer is ORDERED to release Spagni’s passport to his

counsel under the same terms set out in the Court’s March 1, 2022 order (Doc. No. 38). Counsel

shall again return the passport to the Pretrial Services Officer immediately after Spagni has

completed the necessary tasks at the Department of Motor Vehicles.

         It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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